                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,                     )
                                               )
                Plaintiff,                     )    No. 24-CR-00070-CJW-MAR
                                               )
         vs.                                   )
                                               )
 SHANE ROBERT McDOWELL,                        )
                                               )
                Defendant.                     )
                                               )

      GOVERNMENT’S BRIEF IN SUPPORT OF ITS RESISTANCE TO
              DEFENDANT’S MOTION TO SUPPRESS

      The Court should deny defendant’s motion to suppress. Defendant does not

have standing to challenge the search of a vehicle in which he was merely a

passenger. Even if he had standing, and assuming the search warrant was

defective, as defendant argues, officers had probable cause and consent to stop and

search the vehicle. Immediately prior to the traffic stop, defendant had distributed

fifteen ounces of methamphetamine to a confidential source and the confidential

source had placed the methamphetamine in the trunk of his/her vehicle at the

direction of investigators. Notwithstanding probable cause and consent, the search

warrant in this case was valid and, even if it was defective, the exclusionary rule is

not appropriate in this case. Defendant’s Fourth Amendment rights were not

violated, and the methamphetamine seized and defendant’s post-Miranda

statements should not be suppressed.




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     I.        BACKGROUND

               A. February 5, 2024 Controlled Purchase from Defendant

               On February 5, 2024, law enforcement conducted a controlled purchase of

methamphetamine from defendant, utilizing a confidential source (hereinafter

referred to in this affidavit as “CS1”). (Exhibit 1, at 1, 5.) Before the controlled

purchase, CS1 consented to a strip search of his/her person and a search of his/her


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vehicle, and officers provided him/her with $1,400 in pre-serialized United States

currency and a hidden body transmitter. (Exhibit 1, at 2, 5.) Officers also placed a

global positioning system (“GPS”) device on CS1’s vehicle to track CS1’s movements.

(Exhibit 1, at 2.) CS1 drove to a residence on Orange Street in Tipton, Iowa, where

defendant entered CS1’s vehicle. (Exhibit 1, at 2, 5.) CS1 and defendant then drove

to Cedar Rapids, Iowa, in CS1’s vehicle. (Exhibit 1, at 2, 5.) After they arrived,

they parked in a parking lot of a restaurant and defendant attempted to contact a

source of supply of methamphetamine. (Exhibit 1, at 2, 5.) Defendant’s source in

Cedar Rapids did not answer, so defendant called C.E., a source of supply of

methamphetamine in Iowa City, Iowa. (Exhibit 1, at 3, 5.) CS1 and defendant then

traveled to C.E.’s residence in Iowa City in CS1’s vehicle. (Exhibit 1, at 3, 5.) After

they arrived, CS1 provided defendant with the $1,400 in pre-serialized United

States currency and defendant met with C.E. (Exhibit 1, at 3, 5.) When defendant

returned to CS1’s vehicle, defendant gave CS1 two ounces of methamphetamine and

returned $500 of the $1,400. (Exhibit 1, at 3, 5.) Following the transaction,

defendant stayed at C.E.’s residence and CS1 met with investigators, where CS1

provided investigators with the two ounces of methamphetamine and $500.

(Exhibit 1, at 3, 5.) Officers then conducted a strip search of CS1 and searched

his/her vehicle. (Exhibit 1, at 3-4, 5.)

       B. February 13, 2024 Controlled Purchase from Defendant

       On February 13, 2024, law enforcement conducted a controlled purchase of

methamphetamine from defendant, utilizing CS1. (Exhibit 2, at 1, 4.) Before the



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controlled purchase, CS1 consented to a strip search of his/her person and a search

of his/her vehicle, and officers provided him/her with $200 in pre-serialized United

States currency and a hidden body transmitter. (Exhibit 2, at 2, 4.) CS1 drove to a

residence on West 2nd Street in Tipton, and, after he/she arrived, defendant entered

CS1’s vehicle. (Exhibit 2, at 2, 4.) After defendant entered CS1’s vehicle, defendant

knowingly and intentionally distributed methamphetamine to CS1 in exchange for

$200. (Exhibit 2, at 2, 4.) Following the transaction, CS1 met with investigators,

where CS1 provided investigators with the methamphetamine he/she purchased

from defendant. (Exhibit 2, at 2, 4 Officers then conducted a strip search of CS1

and searched his/her vehicle.. (Exhibit 2, at 2, 4.)

      C. February 28, 2024 Search Warrant, Controlled Purchase from
         Defendant, Traffic Stop, and Interview

             1. Search Warrant

      In the afternoon of February 28, 2024, Detective Matt Jackson of the Cedar

County Sherriff’s Office obtained a search warrant for defendant’s person, two

vehicles associated with defendant, and “any vehicle” that defendant was “found to

currently or immediately before had been driving or riding in.” (Exhibit 3, at 1,

3-19.) The affidavit in support of the search warrant established the following.

      In September 2023, investigators conducted a federal proffer interview of

R.R. (Exhibit 3, at 7.) R.R. had been in a long-term relationship with defendant for

approximately six years. (Exhibit 3, at 7.) R.R. stated that defendant was involved

with using and/or distributing methamphetamine during the entirety of the six

years they were together, and R.R. provided specific details as to the weights and

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frequency of defendant’s “methamphetamine purchases from several different

sources.” (Exhibit 3, at 7.) One of defendant’s sources was K.H., who lived in

Marion, Iowa. (Exhibit 3, at 7.)

       In October 2023, a confidential source (hereinafter referred to as “CS2”)

contacted law enforcement and stated that CS2 could purchase controlled

substances from multiple individuals, including W.S. (Exhibit 3, at 6.) A couple

days after the interview, law enforcement conducted a controlled purchase of

methamphetamine from W.S., utilizing CS2. (Exhibit 3, at 6.) Before W.S.

distributed the methamphetamine to CS2, W.S. utilized a black 2006 Dodge Grand

Caravan, which was registered to W.S., to obtain methamphetamine from an

unknown source. (Exhibit 3, at 6-7.)

       On October 30, 2023, Det. Jackson observed defendant driving W.S.’s black

Caravan. (Exhibit 3, at 7.) Defendant was known to law enforcement as a

methamphetamine user and distributor, and, in January 2023, defendant pled

guilty to possession with intent to deliver methamphetamine, a class D felony.

(Exhibit 3, at 7.)

       In early November 2023, law enforcement conducted another controlled

purchase from W.S., utilizing CS2. (Exhibit 3, at 7.) Based upon W.S.’s

conversation with CS2 in arranging the controlled purchase, law enforcement

believed that W.S. was middling for a “male subject,” “meaning she will get the

controlled substance from her source, and promptly deliver the controlled substance




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for cash.” (Exhibit 3, at 7.) Shortly before W.S. distributed the methamphetamine

to CS2 during the controlled purchase, W.S. met with defendant. (Exhibit 3, at 7.)

      W.S. and defendant lived together at a residence on West 2nd Street in

Tipton, Iowa. (Exhibit 3, at 9.)

      In November 2023, investigators obtained search warrants for GPS tracking

of W.S.’s black 2006 Dodge Grand Caravan and a red 2000 Chevy Tahoe, which was

registered to J.H. but driven by defendant. (Exhibit 3, at 7-8.) On November 18,

2023, data from the GPS tracker affixed to W.S.’s Caravan showed that it traveled

to Cedar Rapids and made a number of stops. (Exhibit 3, at 8.) One of those stops

was close to the Linn County Jail, and Det. Jackson confirmed that defendant

stopped at the Linn County Jail on that date and put $20 onto R.R.’s commissary.

(Exhibit 3, at 8.) The Caravan also made two separate stops in the area of 7th

Street and 2nd Avenue SW in Cedar Rapids, the area of K.H.’s residence.

(Exhibit 3, at 8.) K.H. had moved from Marion to an apartment on 2nd Avenue SW

in Cedar Rapids. (Exhibit 3, at 7-8.)

      A couple days before November 18, 2023, law enforcement executed a search

warrant at K.H.’s apartment in Cedar Rapids and seized approximately a

half-pound of methamphetamine. (Exhibit 3, at 8.) K.H. was not arrested.

(Exhibit 3, at 8.) K.H.’s phone was seized during the execution of the search

warrant, and a search of K.H.’s phone showed approximately twenty contacts

between K.H. and defendant. (Exhibit 3, at 8.)




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       In late November 2023, investigators conducted a controlled purchase of

methamphetamine from W.S., utilizing CS2. (Exhibit 3, at 8.)

       On November 29, 2023, data from the GPS tracker affixed to W.S.’s Caravan

showed that it made an approximately ten-minute stop in the 700 block of 2nd

Avenue SW in Cedar Rapids, the area of K.H.’s apartment. (Exhibit 3, at 8.)

       On December 4, 2023, data from the GPS tracker affixed to the Chevy Tahoe

driven by defendant showed that the Tahoe stopped in the area of K.H.’s apartment

for approximately twenty minutes, and it made other stops in Cedar Rapids,

including a grocery store, gas station, and the Linn County Jail. (Exhibit 3, at 8.)

       Between December 8, and December 18, 2023, CS1 had multiple

conversations with defendant via cellphone to arrange a controlled purchase of

methamphetamine. (Exhibit 3, at 9.)

       On December 14, 2023, investigators received a search warrant return

related to W.S.’s Facebook account, and a review of the records showed that W.S.

had made comments about defendant assisting her with her methamphetamine

sales. (Exhibit 3, at 9.)

       Officers were monitoring jail calls between T.D. and B.M., and their

conversation indicated that B.M. was in possession of W.S.’s Caravan and W.S.

and/or defendant had obtained a black GMC Sierra. (Exhibit 3, at 9.) The GPS

tracker affixed to W.S.’s Caravan corroborated that B.M. had the Caravan.

(Exhibit 3, at 9.)




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          Investigators then noticed a black GMC Sierra and a black Chevy Equinox at

W.S.’s and defendant’s residence on West 2nd Street in Tipton. (Exhibit 3, at 9.)

Recorded jail calls between R.R. and defendant indicated that the Equinox was

broken down. (Exhibit 3, at 9.)

          On December 17, 2023, data from the GPS tracker affixed to the Tahoe

driven by defendant showed that it appeared to be broken down on Highway 30 in

Linn County for approximately two hours. (Exhibit 3, at 9.) Investigators believed

that the Tahoe was unreliable. (Exhibit 3, at 9.)

          On December 18, 2023, investigators placed another GPS tracker on the

Tahoe driven by defendant; however, on December 21, 2023, the GPS tracker

stopped working. (Exhibit 3, at 9.) On December 24, 2023, investigators spoke with

defendant as he was working on his Tahoe at his residence, and defendant admitted

that he found the GPS tracker. (Exhibit 3, at 9.)

          In early February 2023, CS1 conducted a controlled purchase of

methamphetamine from defendant at the direction of law enforcement. (Exhibit 3,

at 10.) During the controlled purchase, defendant “admitted to conducting several

recent transactions for bulk amounts of methamphetamine in Cedar Rapids.”

(Exhibit 3, at 10.)

          In mid-February 2023, CS1 conducted another controlled purchase of

methamphetamine from defendant at the direction of law enforcement. (Exhibit 3,

at 10.)




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       On February 22, 2024, Det. Jackson observed defendant driving a white

Saturn Outback registered to Whitney McDowell, whom defendant had lived with

for a short period of time and may have been living with at the time the search

warrant was obtained. (Exhibit 3, at 10.)

       Based upon Det. Jackson training and experience, he knows, in part, that

“drug traffickers will keep the controlled substances they intend to sell, as well as

packaging materials, and the proceeds of their sales either on their person, in their

vehicles, or in their residences or other structures they have control over.”

(Exhibit 3, at 13.)

       A magistrate judge of the Seventh Judicial District of Iowa signed the search

warrant on February 28, 2024, directing “any Peace Officer in the State” that the

magistrate judge had “found that probable cause exists” to search:

       Vehicle(s)
       •    Red 2000 Chevrolet Tahoe bearing Iowa license plate [redacted]
            and VIN [redacted], registered to [J.H.] at [XXXX] 205th Street,
            Tipton, Iowa.

       •      White 2007 Saturn Outlook bearing Iowa license plate
              [redacted] and VIN [redacted], registered to WHITNEY
              MCDOWLL at [XXX] 9th Avenue, Clarence, Iowa.

       •      Any vehicle that SHANE MCDOWELL is found to currently or
              immediately before had been driving or riding in.

       Person(s)
       •    The person of SHANE ROBERT MCDOWELL, DOB
            [XX]/[XX]/1980. [Photograph of defendant]

(Exhibit 3, at 17.) The search warrant stated that, “In Cedar County, there is now

certain property,” and it listed, among other things, “Methamphetamine,



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marijuana, or any controlled substances as listed in Chapter 124 of the State Code

of Iowa[.]” (Exhibit 3, at 17-18.) The search warrant commanded any Peace Officer

of the State to “make immediate search” of the described vehicles and person “for

the specified property.” (Exhibit 3, at 19.)

              2. Controlled Purchase from Defendant

       Later on February 28, 2024, law enforcement conducted a controlled

purchase of methamphetamine from defendant, utilizing CS1. (Exhibit 4, at 1.) At

approximately 5:34 p.m., Detective Tanner Bohling conducted a “safety briefing” at

the Cedar County Sheriff’s Office” with officers and investigators. (Exhibit 4, at 2.)

       At approximately 5:44 p.m., Detective Sheridan Billhorn conducted a “safety

briefing” at the Cedar Rapids Police Department (“CPRD”) with other investigators

and officers, including Officers Austin Bailey and Skylar Mullins of CRPD.

(Exhibit 4, at 2.)

       Around that same time, investigators in Cedar County met with CS1.

(Exhibit 4, at 2.) CS1 consented to a strip search of his/her person and a search of

his/her vehicle, and officers provided him/her with $3,500 in pre-serialized United

States currency and a hidden body transmitter. (Exhibit 4, at 2-3.) Officers also

placed a GPS device on CS1’s vehicle to track CS1’s movements. (Exhibit 4, at 2.)

       CS1 then drove to a residence on West 2nd Street in Tipton, and defendant

entered CS1’s vehicle. (Exhibit 4, at 3.) CS1 and defendant drove to Cedar Rapids,

parking at a car wash. (Exhibit 4, at 3.) Defendant called his supplier, who told




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defendant that he would be there in about five minutes, and CS1 gave defendant

the $3,500 in pre-serialized United States currency. (Exhibit 4, at 3.)

      Officers conducting physical and electronic surveillance observed CS1 and

defendant drive from the car wash to the parking lot of a store, where defendant

met with Andre McNairy, defendant’s source of supply. (Exhibit 4, at 4.) When

defendant returned to CS1’s vehicle, defendant knowingly and intentionally

distributed approximately fifteen ounces of methamphetamine to CS1, telling CS1

that defendant’s source kept an ounce for himself. (Exhibit 4, at 4.) Det. Bohling

instructed CS1 to place the methamphetamine in the trunk in the spare tire

compartment of CS1’s vehicle. (Exhibit 4, at 4.) Officers conducting physical and

electronic surveillance then observed CS1 drive back to the car wash, where he/she

put the methamphetamine he/she obtained from defendant in the truck of his/her

vehicle in the spare tire compartment. (Exhibit 4, at 4.)

             3. Traffic Stop and Interview

      After CS1 stored the methamphetamine in the spare tire compartment of

CS1’s vehicle, CS1 and defendant started driving back to Cedar County, Iowa.

(Exhibit 4, at 4.) Officers Bailey and Mullins of CRPD, who were present during the

safety briefing, were directed to conduct a traffic stop of CS1’s vehicle as it was

about to drive onto Highway 30 in Cedar Rapids. (Exhibit 5, at 2.) During the

traffic stop, defendant was detained in handcuffs and officers searched CS1’s

vehicle, locating the methamphetamine in the trunk in the spare tire compartment.




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(Exhibit 5, at 2.) Defendant was then arrested and transported to CRPD.

(Exhibit 5, at 2.)

       After he was transported to CRPD, officers interviewed defendant.

(Exhibit 5, at 4.) Officers informed defendant of his Miranda rights, and defendant

signed a form acknowledging his rights. (Exhibit 5, at 4.) Defendant stated that he

had been a user of methamphetamine for the last six to eight years. (Exhibit 5,

at 4.) Defendant admitted that CS1 picked defendant up in Tipton, and they drove

to Cedar Rapids, where defendant met with “Shorty” (McNairy) and obtained fifteen

ounces of methamphetamine in exchange for $3,500 that CS1 had given defendant.

(Exhibit 5, at 4-5.) Defendant reported that he met “Shorty” through K.H., and that

defendant had obtained methamphetamine from “Shorty” two to three times in the

past two to four months. (Exhibit 5, at 5.) Defendant further admitted that he had

distributed methamphetamine to CS on an earlier occasion. (Exhibit 5, at 5.)

              4. Return of Search Warrant

       On April 18, 2024, Det. Jackson returned the search warrant to a Judge of

the Seventh Judicial District of Iowa, attaching an inventory of the property seized

pursuant to the warrant. (Exhibit 3, at 20-21.) The inventory listed the property

seized from CS1’s vehicle and defendant’s person during the February 28, 2024

traffic stop in Linn County, Iowa. (Exhibit 3, at 21.)




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II.   ANALYSIS

      A. Defendant Lacks Standing to Challenge Search of CS1’s Vehicle

      Defendant seeks suppression of “the controlled substances found as a result

of the search of the vehicle in which Mr. McDowell was a passenger on February 28,

2024” (Doc. 24, at 2); however, defendant lacks standing to challenge the search of

CS1’s vehicle. Defendant was merely a passenger and had no expectation of privacy

in CS1’s vehicle.

      “It is well-established that ‘Fourth Amendment rights are personal rights

that may not be asserted vicariously.’” United States v. Anguiano, 795 F.3d 873,

878 (8th Cir. 2015) (quoting United States v. Barragan, 379 F.3d 524, 529 (8th Cir.

2004)). “An individual asserting Fourth Amendment rights ‘must demonstrate that

he personally has an expectation of privacy in the place searched, and that his

expectation is reasonable.’” Barragan, 379 F.3d at 529 (quoting Minnesota

v. Carter, 525 U.S. 83, 88 (1998)). “The defendant moving to suppress bears the

burden of proving he had a legitimate expectation of privacy that was violated by

the challenged search.” United States v. Muhammad, 58 F.3d 353, 355 (8th Cir.

1995). “If a defendant fails to prove a sufficiently close connection to the relevant

places or objects searched he has no standing to claim that they were searched or

seized illegally.” Barragan, 379 F.3d at 529-30 (quoting United States v. Gomez, 16

F.3d 254, 256 (8th Cir. 1994)).

      “As a general matter, mere passengers . . . who have no ownership rights in a

vehicle lack standing to challenge a search of the vehicle.” United States v. Lindsey,



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43 F.4th 843, 847 (8th Cir. 2022) (citing United States v. Russell, 847 F.3d 616, 618

(8th Cir. 2017)). “A passenger who asserts ‘neither a property nor a possessory

interest’ in a vehicle lacks a reasonable expectation of privacy in that vehicle.”

United States v. Davis, 943 F.3d 1129, 1132 (8th Cir. 2019) (quoting

Rakas v. Illinois, 439 U.S. 128, 148 (1978)). “Even where a search is unlawful, a

passenger without such an interest in the vehicle normally cannot challenge its

search or suppress resulting evidence.” Id. (citing Anguiano, 795 F.3d at 878-79).

      Here, defendant cannot challenge the search of CS1’s vehicle or suppress his

post-Miranda statements because he lacks standing. Defendant was a mere

passenger in CS1’s vehicle, and he did not have a reasonable expectation of privacy.

      B. Even if Defendant Had Standing, and Assuming the Search
         Warrant Was Defective, Officers Had Probable Cause and Consent
         to Stop and Search CS1’s Vehicle

      Even assuming for the sake of argument that defendant has standing and

that the search warrant was defective, as defendant argues, officers did not violate

defendant’s Fourth Amendment rights because officers had probable cause and

consent to conduct a warrantless seizure and search of CS1’s vehicle.

             1. Officers Had Reasonable Suspicion to Stop CS1’s Vehicle
                and Probable Cause to Search It

      After observing defendant meet with his source of supply and observing and

overhearing defendant distribute fifteen ounces of methamphetamine to CS1,

officers had probable cause to conduct a traffic stop of CS1’s vehicle and to search it.

      “The Fourth Amendment permits investigative traffic stops when law

enforcement has reasonable suspicion of criminal activity.” United

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States v. Tamayo-Baez, 820 F.3d 308, 312 (8th Cir. 2016) (citing Navarette

v. California, 572 U.S. 393, 396-97 (2014)). “Reasonable suspicion exists when an

officer is aware of particularized, objective facts which, taken together with rational

inferences from those facts, reasonably warrant suspicion that a crime is being

committed.” United States v. Givens, 763 F.3d 987, 989 (8th Cir. 2014) (internal

quotation marks omitted) (quoting United States v. Hollins, 685 F.3d 703, 706 (8th

Cir. 2012)). Courts “‘assess whether a law enforcement official had reasonable

suspicion of criminal activity based on the totality of the circumstances,’ United

States v. Mosley, 878 F.3d 246, 251 (8th Cir. 2017), ‘keeping in mind that officers

may draw on their experience and training to make inferences from the information

they have,’ United States v. Cabo-Cabo, 873 F.3d 613, 617 (8th Cir. 2017).” United

States v. Lopez-Tubac, 943 F.3d 1156 (8th Cir. 2019). “The collective knowledge of

law enforcement officers conducting an investigation is sufficient to provide

reasonable suspicion, and the collective knowledge can be imputed to the individual

officer who initiated the traffic stop when there is some communication between the

officers.” United States v. Thompson, 533 F.3d 964, 969 (8th Cir. 2008).

      “Probable cause to believe that an automobile contains contraband or

evidence of criminal activity has long been held to justify a warrantless search of

the automobile and seizure of the contraband.” United States v. Shackleford, 830

F.3d 751, 753 (8th Cir. 2016). “An officer has probable cause if, ‘given the totality of

the circumstances, a reasonable person could believe that there is a fair probability

that contraband or evidence of a crime would be found in a particular place.’”



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United States v. Pacheco, 996 F.3d 508, 513 (8th Cir. 2021). “Probable cause may be

based on the collective knowledge of all law enforcement officers involved in an

investigation and need not be based solely upon the information within the

knowledge of the officer on the scene if there is some degree of communication.”

United States v. Wells, 347 F.3d 280, 287 (8th Cir. 2003) (quotation and citation

omitted). “If probable cause justifies the search of a lawfully stopped vehicle, it

justifies the search of every part of the vehicle and its contents that may conceal the

object of the search.” United States v. Ross, 456 U.S. 798, 825 (1982). A search may

be authorized under the automobile exception even when law enforcement obtains a

search warrant later determined to be invalid. United States v. Martinez, 78 F.3d

399, 401 (8th Cir. 1996); see United States v. Holleman, 743 F.3d 1152, 1158 (8th

Cir. 2014) (“[A]ny infirmities in the search warrant application are irrelevant so

long as the search of the vehicle fell within the automobile exception to the search

warrant requirement.”)

      Here, Officers Bailey and Mullins of CRPD were present during the safety

briefing at CRPD, where it was explained that investigators were going to conduct a

controlled purchase of methamphetamine from defendant. Officers Bailey and

Mullins monitored radio traffic during the controlled purchase, and other members

of the investigative team watched and listened as defendant obtained

methamphetamine from McNairy and distributed it to CS1, who put it in the truck

in the spare tire compartment of CS1’s vehicle. Officers Bailey and Mullins were

then directed to conduct a traffic stop of CS1’s vehicle. During the traffic stop,



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officers located and seized the methamphetamine that CS1 had obtained from

defendant and placed in the trunk.

      Therefore, even if defendant had standing and the search warrant was

defective, officers had probable cause to stop and search CS1’s vehicle based upon

the physical and electronic surveillance of the controlled purchase from defendant.

Officers knew that defendant had distributed fifteen ounces of methamphetamine to

CS1 and that CS1 had placed the methamphetamine in the trunk of CS1’s vehicle.

      C. Officers Had Consent to Stop and Search CS1’s Vehicle

      During the controlled purchase, CS1 was acting at the direction of law

enforcement and a reasonable officer would believe that CS1 consented to a traffic

stop of CS1’s vehicle and a search of it.

      “A warrantless search is valid under the Fourth Amendment if it is conducted

pursuant to the knowing and voluntary consent of the person subject to a search.”

United States v. Brown, 763 F.2d 984, 987 (8th Cir. 1985). “To show that a person

consented to a search, the Government must demonstrate by a preponderance of the

evidence that consent was ‘the product of an essentially free and unconstrained

choice.’” United States v. Garcia-Garcia, 957 F.3d 887, 895 (8th Cir. 2020) (quoting

United States v. Cedano-Medina, 366 F.3d 682, 684 (8th Cir. 2004)).

“Consent . . . may be inferred from the subject’s ‘words, gestures, and other

conduct.’” Id. (quoting United States v. Jones, 254 F.3d 692, 695 (8th Cir. 2001)).

“The issue turns not on the” subject providing consent’s “subjective state of mind,

but on whether the officer reasonably believed the” subject “consented.” Id. at 893.



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      Here, the February 28, 2024 controlled purchase was CS1’s third controlled

purchase from defendant at the direction of law enforcement. During the first two

controlled purchases, CS1 consented to a strip search and a search of his/her vehicle

before and after the controlled purchase, and, during the February 5 controlled

purchase, CS1 consented to officers placing a GPS tracking device on his/her

vehicle. Officers had explained to CS1 that the searches of his/her person and

vehicle were part of the operating procedure during a controlled purchase, and CS1

consented to it every time. At the onset of the February 28 controlled purchase,

CS1 again consented to a strip search and a search of his/her vehicle before the

controlled purchase, and CS1 consented to officers placing a GPS tracking device on

his/her vehicle. During the February 28 controlled purchase, Det. Bohling directed

CS1 to place the methamphetamine CS1 obtained from defendant in the trunk in

the spare tire compartment of CS1’s vehicle.

      At the time of the February 28 traffic stop, CS1 was acting on behalf of law

enforcement, and, given the history of searches of CS1 and his/her vehicle and CS1’s

understanding of the operating procedure, a reasonable officer would believe that

CS1 consented to a traffic stop and search of his/her vehicle to effectuate the

conclusion of the controlled purchase.

      Therefore, even if defendant had standing and the search warrant was

defective, officers had CS1’s consent to initiate a traffic stop on his/her vehicle and

to conduct a search of it.

      D. Even if Defendant Had Standing, the Search Warrant was Valid,
         And, If Not, The Exclusionary Rules is Not Appropriate

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             1. The Search Warrant Complied with the Fourth Amendment

      Given the totality of the circumstances, the search warrant complied with the

requirements of the Fourth Amendment as it particularly described the places to be

searched and the things to be seized and it was supported by probable cause. The

search warrant affidavit established that defendant was a long-time drug trafficker,

and he had utilized different vehicles for drug-related activities.

      In a federal prosecution, courts “‘evaluate a challenge to a search conducted

by state authorities under federal Fourth Amendment standards.’” United

States v. Cote, 569 F.3d 391, 393 (8th Cir. 2009) (quoting United States v. Bieri, 21

F.3d 811, 816 (8th Cir. 1994)). “[F]ederal courts do not suppress evidence seized by

state officers in conformity with the Fourth Amendment because of state law

violations.” United States v. Appelquist, 145 F.3d 976, 978 (8th Cir. 1998).

      “‘The Warrant Clause of the Fourth Amendment requires that warrants

(1) be issued by a neutral and detached magistrate, (2) contain a “particular[]

descri[ption of] the place to be searched, and the persons or things to be seized,” and

(3) be based “upon probable cause, support by Oath or affirmation,”’” Skarda, 845

F.3d at 375 (quoting United States v. Clyburn, 24 F.3d 613, 617 (4th Cir. 1994) (in

turn quoting U.S. Const. amend. IV)).

      “The particularity requirement prevents officers from conducting ‘a general

exploratory rummaging of a person’s belongings.’” United States v. Ivey, 91 F.4th

915, 918 (8th Cir. 2024) (quoting United States v. Saunders, 957 F.2d 1488, 1491

(8th Cir. 1992)). “The requirement is one of ‘practical accuracy rather than a

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hypertechnical one.’” Id. (quoting United States v. Schave, 55 F.4th 671, 675 (8th

Cir. 2022)). “In assessing whether a warrant is sufficiently particular,” courts

“consider the purpose for which the warrant was issued, the nature of the items to

which it is directed, and the total circumstances surrounding the case.” Id. (citing

Schave, 55 F.4th at 675).

      “Probable cause exists when, viewing the totality of the circumstances, ‘there

is a fair probability that contraband or evidence of a crime will be found in a

particular place.’” United States v. Reed, 921 F.3d 751, 757 (8th Cir. 2019) (quoting

Illinois v. Gates, 462 U.S. 213, 230, 238 (1983)). “[T]he probable-cause standard is a

practical, nontechnical conception that deals with the factual and practical

considerations of everyday life on which reasonable and prudent men, not legal

technicians, act.” Maryland v. Pringle, 540 U.S. 366, 370 (2003) (internal

quotations and citations omitted). “[T]he mere ‘probability or substantial chance of

criminal activity, rather than an actual showing of criminal activity,’ is all that is

required.” United States v. Winarske, 715 F.3d 1063, 1067 (8th Cir. 2013) (quoting

United States v. Mendoza, 421 F.3d 663, 667 (8th Cir. 2005)).

      An issuing magistrate judge’s “‘determination of probable cause should be

paid great deference by reviewing courts.’” Gates, 462 U.S. at 236 (quoting

Spinelli v. United States, 393 U.S. 410, 419 (1969)). In reviewing the issuance of a

warrant, a reviewing court “need not make a de novo inquiry into the existence of

probable cause, but rather should uphold the decision to issue the warrant so long

as it is supported by ‘substantial evidence in the record.’” United States v. Hallam,



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407 F.3d 942, 948 (8th Cir. 2005). “When a magistrate [judge] relies solely on an

affidavit to issue the warrant, only that information which is found within the four

corners of the affidavit may be considered in determining the existence of probable

cause.” United States v. Farlee, 757 F.3d 810, 819 (8th Cir. 2014) (internal

quotations and citation omitted).

      The search warrant in this case complied with the Fourth Amendment.

First, the search warrant was issued by a neutral and detached magistrate judge of

the Seventh Judicial District of Iowa.

      Second, the search warrant contained a particular description of the places to

be searched and the things to be seized. For the places to be searched, it described

two specific vehicles by license plate and vehicle identification number, described

defendant’s person by his date of birth and photo, and it described any vehicle that

defendant “is found to currently or immediately before had been driving or riding

in.” For the things to be seized, it listed fifteen different types of property, including

“[m]ethamphetamine, marijuana, or any controlled substances listed in Chapter 124

of the State Code of Iowa[.]”

      Third and finally, it established probable cause that contraband or evidence

of a crime would be found in the vehicles or on defendant’s person. The search

warrant affidavit established that (1) defendant had been using and distributing

methamphetamine for the entirety of the six years he was in a relationship with

R.R.; (2) defendant was a methamphetamine source of supply for W.S., and officers

had conducted controlled purchases of methamphetamine from W.S.; (3) defendant



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had traveled to Cedar Rapids to acquire methamphetamine in different vehicles,

including W.S.’s Dodge Grand Caravan and a red Chevy Tahoe; (4) defendant no

longer had access to W.S.’s Dodge Grand Caravan and the red Chevy Tahoe had

broken down and was unreliable; (5) defendant had access to several additional

vehicles, including a black GMC Sierra and a white Saturn Outback registered to

Whitney McDowell, whom defendant had lived with for a short period of time and

may have been living with at the time the search warrant was obtained; and

(6) drug traffickers keep controlled substances intend to sell, packaging materials,

and the proceeds of their sales on their persons or in their vehicles.

      Defendant argues that “[t]here was no probable cause to believe that any

contraband or other relevant evidence would be found in ‘Any vehicle that SHANE

McDOWELL is found to currently or immediately before had been driving or riding

it.” (Doc. 24-1, at 7.) Given the totality of the circumstances, however, defendant’s

argument fails. The search warrant affidavit established that defendant was a

long-time user and trafficker of methamphetamine, that he utilized multiple

vehicles in conducting drug-related activities, and that drug traffickers keep

controlled substances they intend to sell and proceeds of their sales on their persons

or in their vehicles. There was probable cause to believe that contraband or any

other evidence would be found in any vehicle defendant was in, or had immediately

exited, based upon his drug trafficking activities.

      Given the totality of the circumstances, the search warrant obtained and

executed in this case satisfied the requirements of the Fourth Amendment as it



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particularly described the places to be searched and the things to be seized and it

was supported by probable cause.

             2. A Technical Violation in the Execution of the Search
                Warrant is not a Fourth Amendment Violation

      Defendant argues that the search warrant was limited to items found in

Cedar County, and officers exceeded the scope of the warrant when they executed it

in Linn County. (Doc. 24-1, at 9-11.) This is a technical violation in the execution of

the warrant, and, since the warrant otherwise complies with the Fourth

Amendment, suppression is not appropriate.

      Under Iowa law, a magistrate judge shall issue a warrant upon a finding of

probably cause, “directed to any peace officer, commanding that peace officer

forthwith to search the named person, place, or thing within the state for the

property specified, and to bring any property seized before the magistrate.” Iowa

Code § 808.4 (emphasis added); see State v. Groff, 323 N.W.2d 204, 213 (Iowa 1982)

(finding that Iowa magistrate judges have the authority to issue a search warrant

for any person, place, or thing within the state for the property specified).

      The Eighth Circuit has held that a technical violation in the execution of a

search warrant is not a basis for suppression so long as the warrant otherwise

compiles with the Fourth Amendment. In United States v. Faulkner, 826 F.3d 1139

(8th Cir. 2016), officers obtained “a warrant to place GPS tracking devices on either

or both of Faulkner’s two vehicles.” Id., at 1143. “The warrant and resulting order

specified that the device could be placed on either of Faulkner’s vehicles located in

Hennepin County (Minneapolis), but the officers ultimately placed the device on one

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of the vehicles . . . while it was in Ramsey County, in the City of St. Paul.” Id. The

defendant argues that all evidence from the GPS warrant should have been

suppressed because, in relevant part, “execution of the warrant outside the

geographical limitations set forth in the warrant transformed the installation of the

GPS tracking device into a warrantless search” and it violated state law. Id.,

at 1144.

      The Eighth Circuit held that “[t]he technical deficiency that the warrant

specified a certain county for placement of the GPS device when it was actually

placed in a neighboring county might be a violation of state law, but it is not a

Fourth Amendment violation under these circumstances.” Faulkner, 826 F.3d

at 1145-46 (citing United States v. Freeman, 897 F.2d 346, 350 (8th Cir. 1990)

(holding no Fourth Amendment violation for technical violation in execution of the

warrant because it did not implicate probable cause or the description with

particularly of the place to be searched, and, the violation was not deliberate);

United States v. Bach, 310 F.3d 1063, 1066 (8th Cir. 2002) (state law violations were

not a basis for suppression without a Fourth Amendment violation)); see also United

States v. Green, 178 F.3d 1099, 1106 (10th Cir. 1999) (“The Fourth Amendment is

satisfied where, as here, officers obtain a warrant, grounded in probable cause and

phrased with sufficient particularity, from a magistrate of the relevant jurisdiction

authorizing them to search a particular location, even if those officers are acting

outside their jurisdiction as defined by state law.”). The Eighth Circuit found that

the warrant complied with the Fourth Amendment because (1) it was “approved by



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a neutral magistrate” judge, (2) “[t]he installation authorized by the warrant was

executed within the specified time frame;” and (3) “[t]he warrant application

particularly described Faulkner’s Avalanche by year, make, model, color, license

plate, and VIN number.” Faulkner, 826 F.3d at 1145.

      Like the warrant in Faulkner, the warrant in this case was approved by a

neutral magistrate judge, particularly described the places to be searched and the

property to be seized, and it was supported by probable cause. While defendant is

correct that the warrant was limited to certain property in “Cedar County” and it

was executed in Linn County, under Faulkner, that is a technical violation and not

a basis for suppression. Moreover, the magistrate judge’s restriction to property in

“Cedar County” was a violation of state law as Iowa Code requires magistrate

judges to direct any peace officer in the state to search “the named person, place, or

thing” within the state for the property specified.

      Since the warrant in this case complies with the Fourth Amendment, a

technical violation in the execution of the warrant does not require suppression.

             3. The Exclusionary Rule is Not Appropriate in this Case

                    a. The Good-Faith Exception to the Exclusionary Rule
                       Applies

      Even if the Court finds that the search warrant lacked probable cause, the

Court should find that the Leon good-faith exception to the exclusionary rule

applies.

      The Leon good-faith exception to the exclusionary rule applies “when an

officer acting with objective good faith has obtained a search warrant from a judge

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or magistrate and acted within its scope,’ even if the warrant is subsequently

invalidated.” United States v. Cannon, 703 F.3d 407, 412 (8th Cir. 2013) (quoting

United States v. Leon, 468 U.S. 897, 920-21 (1984)). The good faith determination is

restricted “to the objectively ascertainable question of whether a reasonably well-

trained officer would have known that the search was illegal despite a judge’s

issuance of the warrant.” United States v. Jackson, 784 F.3d 1227, 1231 (8th Cir.

2015). The Supreme Court has identified four situations in which the exception is

not available:

      (1) When “the magistrate or judge in issuing a warrant was misled by
          information in an affidavit that the affiant knew was false or would have
          known was false except for his reckless disregard of the truth”;

      (2) When “the issuing magistrate wholly abandoned his judicial role”;

      (3) When the affidavit is “so lacking in indicia of probable cause as to render
          official belief in its existence entirely unreasonable”; and

      (4) When “a warrant may be so facially deficient—i.e., in failing to
          particularize the place to be searched or the things to be seized—that the
          executing officers cannot reasonably presume it to be valid.”

Leon, 468 U.S. at 923 (internal citations omitted).

      Here, none of the four exceptions apply in this case: (1) there is no indication

that the affiant mislead the issuing court; (2) there is no basis for finding the

issuing court abandoned a judicial role; (3) even if the Court finds the affidavit

lacked probable cause to search any vehicle that defendant was in or had recently

exited, the affidavit was not so lacking in probable cause as to render official belief

in its existence entirely unreasonable; and (4) the warrant specifically identifies the




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placed to be searched and items to be seized that are easily linked to a criminal

investigation.

                    b. The Inevitable Discovery Exception to the
                       Exclusionary Rule Applies

      Even if the Court finds that the search warrant lacked probable cause, the

Court should not exclude the evidence seized from CS1’s vehicle as, if the search

would not have occurred, investigators would have seized the methamphetamine in

Cedar County after CS1 dropped defendant off at his residence.

      “The inevitable-discovery doctrine posits that if the prosecution can establish

by a preponderance of the evidence that the information, otherwise to be suppress

under the exclusionary rule, ultimately or inevitable would have been discovered by

lawful means, then the exclusionary rule does not apply.” United States v. James,

353 F.3d 606, 616-17 (8th Cir. 2003) (citing Nix v. Williams, 467 U.S. 431, 444

(1984)). Under that doctrine, “the government must prove by a preponderance of

the evidence: (1) that there was a reasonable probability that the evidence would

have been discovered by lawful means in the absence of police misconduct, and

(2) that the government was actively pursuing a substantial, alternative line of

investigation at the time of the constitutional violation.” United States v. Conner,

127 F.3d 663, 667 (8th Cir. 1997).

      Here, there is a reasonable probability that the methamphetamine seized

from CS1’s vehicle would have been discovered by lawful means in the absence of

police misconduct as officers would have obtained the methamphetamine from CS1

at the conclusion of the controlled purchase. The government was also actively

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pursuing a substantial, alternative line of investigation at the time of the

constitutional violation as they were in the middle of conducting a controlled

purchase utilizing CS1. Since it would have been seized anyway, the Court should

not suppress it.

III.      CONCLUSION

          For the above stated reasons, the Court should deny defendant’s motion to

suppress.

                                                       Respectfully submitted,

    CERTIFICATE OF SERVICE                             TIMOTHY T. DUAX
                                                       United States Attorney
I hereby certify that on October 22, 2024 I
electronically filed the foregoing with the
Clerk of Court using the ECF system                    By: /s/ Dillan Edwards
which will send notification of such filing
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